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 6   Attorney for Defendant
     JOSE JESUS SUAREZ VILLA
 7
 8
                           UNITED STATES OF DISTRICT COURT
 9
                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                                                  Case No.: 2:18-CR-0178 KJM
                    Plaintiff,
13                                                  STIPULATION AND ORDER
14                                                  [PROPOSED] RE TEMPORARY
     JOSE JESUS SUAREZ VILLA,                       RELEASE FOR MEDICAL-LEGAL
15                                                  EVALUATION
16                 Defendant.

17
18          Mr. Suarez Villa previously worked for Walter and Sons Masonry, Inc., located in
19   Morgan Hill, California. On or about October 13, 2017, he was injured on the job and filed
20   a timely worker’s compensation claim. The injury was a major laceration to his leg which
21   occurred while Mr. Suarez Villa was cutting a rock with a grinder.
22
            Prior to his arrest on this case, Mr. Suarez Villa was regularly treating with
23
     physicians, treatment providers and meeting with his worker’s compensation attorney,
24
     Troy Otus, of the Otus Law Group. Both counsel and the investigator for Mr. Suarez Villa
25
     have spoken with Guadalupe Lopez from Troy Otus’s law office to confirm the necessity
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     of this medical-legal evaluation. Per the Otus Law Group, if Mr. Suarez Villa is not able
27
     to attend this appointment, his entire case will be dismissed.
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 1          Mr. Suarez Villa is requesting to be temporarily released from custody so that he
 2   can attend this final medical-legal evaluation. The appointment is on Tuesday, December
 3   17, 2019, at 11:00 a.m. (10:45 a.m. arrival) located at 38162 Glenmoor Drive, Fremont,
 4   California 94536, 510-793-8789, with Dr. Donald Pang, M.D.
 5          Mr. Suarez Villa is in custody at the Sacramento Main Jail. The request is that he
 6   be temporarily released on Tuesday, December 17, 2019, sometime between 7 a.m. and 8
 7   a.m., to the custody of Investigator Frank Huntington and return to the Sacramento County
 8   Main Jail no later than 6:00 p.m. He would travel between Sacramento County and
 9   Alameda County (where Dr. Donald Pang is located). The Court certified Spanish
10   interpreter, Mari Fitzgibbon, is also available to accompany Mr. Suarez Villa and
11   Investigator Frank Huntington.
12          It is hereby stipulated and agreed between plaintiff, United States of America, and
13   defendant, Jose Jesus Suarez Villa, through their attorneys, that Mr. Suarez Villa may be
14   temporarily released from custody as set forth below to attend his final medical-legal
15   evaluation, on Tuesday, December 17, 2019, in the third-party custody of Investigator
16   Frank Huntington.
17          The parties agree that the Court may order Mr. Suarez Villa temporarily released
18   sometime between 7 a.m. and 8 a.m. on Tuesday, December 17, 2019, with instructions
19   that he return to the jail by 6:00 p.m. the same day. The Court shall direct the US Marshals
20   Service to coordinate Mr. Suarez Villa’s release and surrender with the jail as they see fit,
21   within the time frame permitted above. Mr. Suarez Villa will sign the attached Notice to
22   Defendant Being Released (modified to fit the conditions of this temporary release) which
23   defense counsel will submit to the Courtroom Deputy for filing before December 17, 2019.
24
25                                      Respectfully submitted,
26
     Date: November 18, 2019            /s/Tasha Paris Chalfant
27                                      TASHA PARIS CHALFANT
                                        Attorney for Defendant
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                                        JOSE JESUS SUAREZ VILLA


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 1
 2   Date: November 18, 2019      McGREGOR SCOTT
                                  Unites States Attorney
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 4
                                  /s/Tasha Paris Chalfant for Timothy Delgado
 5
                                  TIMOTHY DELGADO
 6                                Assistant United States Attorney
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 1                                           ORDER

 2          Jose Jesus Suarez Villa, is ordered temporarily released from custody sometime
 3   between 7 a.m. and 8 a.m. on Tuesday, December 17, 2019, to Investigator Frank
 4   Huntington, and Jose Jesus Suarez Villa, is further ordered to surrender himself to the
 5   Sacramento County Main Jail by 6:00 p.m. that day. The U.S. Marshals Service is directed
 6   to make necessary arrangements with Sacramento County Main Jail for Mr. Suarez Villa’s
 7   release and surrender. Mr. Suarez Villa is ordered to sign the attached Notice to Defendant
 8   Being Released and file it with the Court before his release. All conditions set forth in that
 9   notice are hereby ordered.
10
            IT IS SO ORDERED.
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     Dated: December 3, 2019
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